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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                      Plaintiff,
                                            Case No. 1:19-cv-01974-TNM
     vs.

UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,

                      Defendants.




                           Exhibit RR
             Case 1:19-cv-01974-TNM Document 29-47 Filed 08/20/19 Page 2 of 2




                                  DEPARTMENT OF THE TREASURY
                                            WASHINGTON, D.C.
SECRETARY OF THE TREASURY


                                           August 13, 2019


    The Honorable Richard E. Neal
    Chairman
    Committee on Ways and Means
    U.S. House of Representatives
    Washington, DC 20515

    Dear Chairman Neal:

    I write in response to your August 8, 2019 letter and accompanying request for information. The
    July 29 communication to which you referred would fall within the jurisdiction of the Treasury
    Inspector General for Tax Administration (TIGT A), and we have referred your letter to that
    office.

    Your letter requests information pursuant to your authority under 26 U.S.C. § 6103(±). As far as
    we have been able to determine, the Department of the Treasury does not have any responsive
    records that contain information covered under section 6103(±)-i.e., tax returns or return
    information. To the extent your request seeks Internal Revenue Service records, I respectfully
    suggest that you direct your concerns to TIGTA to avoid interfering with any TIGTA review that
    may currently be underway.

                                                Sincerely,



                                                Steven T. Mnuchin
